 Case 3:08-cr-00242-CCC     Document 1069     Filed 04/18/11   Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
 Plaintiff
 vs                                            CRIMINAL 08-0242CCC
 1) GILBERTO RODRIGUEZ
 2) ANGEL MENDEZ
 3) SUGEYL RODRIGUEZ
 4) BARBARA RAMOS
 5) YAMILET FAJARDO
 6) MARYLIN PINEDA
 7) MILDRED BAEZ
 8) PEDRO PEREZ
 9) CARMEN SEIN
 10) RICHARD PIETRI
 11) EUSEBIO MERCEDES
 12) GERALDO CASTRO
 13) GILBERTO MODESTO
 14) ONNIS ACOSTA
 15) MARILIZ SUAREZ
 16) FRANCISCO FONTANEZ
 17) SAMUEL ESCOBAR
 18) MARTIN PERNAS
 19) ANIBAL ROSSELLO
 20) SONYA CASTELLANOS
 21) MAXIMILIEN ESPINAL
 22) MIGUEL DE AZA
 23) HARRY REYES
 24) LOUIS CRUZ
 25) JULIO MARIN
 26) GLORIA CASTRO
 27) CESAR BERROA
 28) RAYSA PACHECO
 29) JULIO CASTRO
 30) ELBA TORRES
 31) GLENDA DAVILA
 32) RAYMOND RODRIGUEZ
 33) JOEL CASTILLO
 34) YOLANDA RODRIGUEZ
 Defendants
                                 SEALED ORDER
      Before the Court is a Motion for Reconsideration of our Sealed Ex-Parte Order
(docket entry 1067) filed on April 18, 2011. The Court’s Order addresses the claim of
the former President of the Board of Medical Examiners (Board), Dr. Rafael Jiménez-
 Case 3:08-cr-00242-CCC         Document 1069        Filed 04/18/11    Page 2 of 3

CRIMINAL 08-0242CCC                            2


Méndez, upon being subpoenaed by the defense as a trial witness. He has invoked the Fifth
Amendment privilege in an ex-parte Sealed Motion requesting that he be excluded from
testifying at the trial of this case since he will be asserting his Fifth Amendment right not to
incriminate himself. The protection he seeks under the Fifth Amendment Clause is from
prosecution by the Commonwealth of Puerto Rico which he perceives as a real threat should
he testify because offenses related to actions during his tenure at the Board are not barred
by the statute of limitations under Puerto Rico law. See 33 L.P.R.A. §3412. In his motion,
he has listed the several offenses for which he could be prosecuted by the Commonwealth
of P.R. directly or indirectly flowing from his actions as Vice-President and President of the
Board.
         In discussing United States v. Balsys, 118 S.Ct. 2218 (1998), the Court made
reference to Malloy v. Hogan, 378 U.S. 1 (1964), which applied the doctrine of Fourteenth
Amendment Due Process incorporation to the Self-Incrimination Clause so as to bind the
States as well as the national government to recognize the privilege, citing also Kastigar v.
United States, 92 S.Ct. 1653, 1663 n. 42 (1972). All of these cases discarded the rule that
the Fifth Amendment privilege does not protect the witness in one jurisdiction to give
testimony that could be used to convict him in another jurisdiction. Once the privilege was
found to be binding on the state as well as the federal jurisdiction, a prosecutor as stated in
Balsys, at p. 2227, in one or the other jurisdiction had to offer, as an option to exchange the
privilege against Self-Incrimination, an immunity as complete as the privilege’s dual
jurisdictional reach. Therefore, “a federal court could not receive testimony compelled by
a State in the absence of a statute effectively providing for federal immunity, and it did this
by imposing an exclusionary rule prohibiting the national government from making any such
use of compelled testimony and its fruits.” Id.
         The situation in this case, at this juncture, which is relevant to Jiménez-Méndez as
a defense witness, is that the Self-Incrimination guarantee issue is not factually anchored
on the prohibition that the State government has against the use of the witness’ compelled
testimony in federal court. Mr. Jiménez-Méndez has not given any testimony in exchange
of a use immunity granted by the federal prosecutor in this District.              The unique
circumstances surrounding Mr. Jiménez-Méndez’ history as a criminal defendant ended with
 Case 3:08-cr-00242-CCC        Document 1069      Filed 04/18/11    Page 3 of 3

CRIMINAL 08-0242CCC                          3


the government vacating his self-conviction pursuant to his Plea and Cooperation
Agreement, given the absence of an element of the honest services mail fraud conviction
offense. Since his conviction was set aside, his Plea and Cooperation Agreement on which
it was based, is no longer in effect. The only source of immunity of those mentioned by the
defendants in their motion which is relevant to the Self-Incrimination Clause inquiry is the
agreement that defendant reached with the government dated June 30, 2010 (docket entry
1013-3) regarding the Pre-Trial Diversion Program. The relevant portion of that Agreement
appears at page 2, item C, which provides: “Once satisfactorily the diversion program is
satisfactorily completed, it is agreed that the United States will not present any federal
accusation against you for any federal offense committed by any person in relation to the
illegal practice of medicine by that person as a result of your assistance to such person in
fraudulently passing a revalidation exam.”
      The terms of this Agreement clearly state that Jiménez-Méndez is not subject to
federal prosecution for any charges related to the fraudulent schemes linked to the false
passing results of Board exams. However, this Agreement leaves the witness wide open
to prosecution for similar offenses by Commonwealth authorities.         Defendants have
presented no documents or information that would defeat this conclusion. In its Order, the
Court found that the witness had a legitimate fear of state prosecution stemming from his
actions during his tenure at the Board since corruption offenses by public officials do not
have statute of limitations under Puerto Rico law. We reaffirm that finding; the Request for
Reconsideration (docket entry 1067) is DENIED.
      SO ORDERED.
      At San Juan, Puerto Rico, on April 18, 2011.




                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
